Case 1:11-Cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 1 of 78

EXHIBIT 1

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Case History

Ada

1 Cases Found.
Westem Benefit So|utions LLC vs. John Gustin, eta|.
ig§;?zc'zmu` District Filed: 04}27!20103ubtype: Other C|aims Judge: Tim Hansen Status: Pending

Defendemts:Gustin, John Moreton lnsurance Of |daho inc
viaintiffs;Western Benefit So|utions LLC

Register Date
of
ac:l`:c)n$:

Cas€:

04!2?)'2010 New Case Filed - O!her Ciaims
04!27/2010 Comp|aint Filed

04!27/2010 {2) Summons Fiied
04!29!2010 Af‘fidavit Of Servl`CB 04!28!10

Notice Of Hearing on Application of Pre!iminary
04!29!2010 |njuction

Hearing Schedu|ed {Hearing Schedu|ed 0511?!2010
02:30 PM) App|ication of Preliminary |njuction

05)'03,120‘|0 Affidavit Of Service 04/29)"| O
05»’041'2010 Notice Of Appearance (Scott for N|oreton)

Defendant Moreton insurance of |daho, |nc's
051’10)'2010 Memorandum in Opposition to P|aintiff`s Applicaiion for
Preliminary |njunction

05!101‘2010 Affidavit of Tamie Cooper
05!10!2010 Affidavit of Cody Gustin

Notice Of Appearance (Robert B_ White for John
Gustin)

Notice of Joinder in Oppc)sitton to Application for
Preiiminar'y |njunction

05!?1/2010 Affidavit of John Gustin

05!13!2010 |dentification of Witnesses who may Provide Testimony
05)'13!2010 Amended Af‘fidavit of John Gustin

05)'13!2010 Affidavit Of Ronald OSbome

Reply Memorandum in Support of App|ication for
Preliminary |njunc:tion

05114!2010 N|otion to Strike and |v|c:tic:n to Shorten Time
05!14!2010 Memorandum in Suppod of Motion

Hearing resu!t for Hearing Scheduled held on
05!18;'2010 05!17;'2010 02:30 PM: Hearing Vacated App|ication of
Pre|`eminary lnjuction

Hearing Schedu|ed (|`v'|otion 05{27!2010 09:00 AM} for
Preliminary lnjunction

05!18!2010 Notice Of Hearing

Hearl`ng Schedu|ed (Motion 05)'27;'2010 09:00 AM)
|Viotion to Shorten Time

Moreton |nsur'ance Answer to Comp|ai`nt (B Mi|ier for
N|Orefon)

Answer to Compiaint (Robert White, atty for Defendant
05)'19£2010 John Gusun)

05119/2010 Three Day Notice Of |ntent Tc Take Defau|t
05)'19/2010 Amended Notice Of Hearing (05!27:'10 @ 9:OOam}

05!19’,2010 Hearing Schedu|ed (Hearing Schedu!ed 05/27!2010
09100 AM) App|ication for Pre|iminary |njunction

04129/2010

05»"10!2010

05!11»"2010

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05!18!2010

05/‘18!2010

051'19;'20‘10

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051'24¢‘2010 AHidavit Of Sei'vice

05;26}2010 Notice Reserving Right to Call Witnesses and Produce
Evldence

l-learing result for Motion held on 05{27;'2010 09:00
AM: Hearing \/acated Motion to Shorten Time

t-learing result for |V|otion held on 05!2?!2010 09:00
AM: District Coun Hearing He|d Court Reporter: D_
Cromwe|l Numoer ot Transcript Pages for this hearing
estimated: for Prelirninary injunction 100-5--

05!27/2010 Notice of Reservation of Rights to Ca|| Witness
06!01!2010 Affidavit Of Service (5)'24!10)
06!01!2010 Affidavit Of Service (5£25/10)
06!0312010 Hearing Scheduled (Status 061'29!2010 04:30 PM}
Supp|ernenta| Nlemorandum in Suppo:t of Plaintiffs
06"08!2010 App|ication for Preliminary injunction
06!08!2010 AHidavit of Jason G Dykstra
Defendant Moreton insurance of |daho, |nc's Response
06/10)'2010 to P|aintiff's Suoplementa| Memorandum in Support of
its App|ication for Preliminary injunction
06110!2010 Affidavit of Jason D Scott
Detendant John Gustin's Notice of Joinder in Moreton
06;11!2010 insurance of |daho, lnc's Response to Piaintift’s

Supp|emental Memorandurn in Support ot its
App|ication for Preiimlnary injunction

|-tearin result for Status held on 06l2 l 1 04:30 PM:
06}29;2010 Hearin§ He|d ~ in Chan"ibers 9 20 0
07:'27!2010 Affidavit Of Servioe 07)'26¢’1 0
o?z2st201o Afridavit of Service {07~27-10}
08!,09;2010 Y§rti§:nii';jzvi;r€):r;:a§:;fied Complaint To Add A C|aim
08/09;'2010 Memorandurn |n Support of iv‘lotion
08109!2010 Atfidavit Of Jason G Dykstra |n Support Of |Vlotion
08!09!2010 Notice Of Hearing

Hearing Schedu|ed (N|otion to Amend 08;23!2010

08!09!2010 03:00 PM) Motion To Amend Vei'ified Complaint to Add
A C|aim For Punitive Damages
Defendant lVloreton insurance of idaho |ncs
08;16;,2010 Memorandum in Opposition to P|aintiffs Motion to
Amend Veritied Cornp|aint to Add a Claim for Punitive
Damages
08)'16!2010 Affidavit ot Drew Ranstrom
Defendant John Gustins Opposition to Ptaintiffs |Vlotion
08116!2010 to Arnend Verified Comp|aint to Add a C|aim for
Punitive Damages
08120!2010 Reply Brief in Suppoft of Motion to Amend Complaint
Memorandum Decision and Order Regarding Plaintiff's
08;23!2010 |Viotion for Pre|iminary injunction
Hearing result for N‘lotion to Amend held on 08!23;'2010
03:00 PM: District Cour't Hearing Held Court Reporter:
08!2312010 V. Gosney Number of Transcript Pages for this hearing
estimated Motion To Amend Verified Comp|aint to Add
A C|aim For Punitive Damages - less than 100

09£13£2010 Notice Of Sen:ice of Discovery
09)'13!2010 Notice Of Service of Discovery

Notice Of Hearing [RE: Order for F’reliminary lnjunction]
10’05l2010 (10128;2010 at 2130 p.m,)

Hearing Schedu|ed (Hearing Scheduled 10£28!20‘10
10105'{2010 02:30 PN|) Order for Pre|iminary injunction

05»"27!2010

051'27!2010

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10118!2010 Notice Of Service
10},21;2010 Oinjection to Piaintlfl`e Proposed Order for Preilrninary
injunction
Delendant John Gustins Objection to Plaintifts
10{21'{2010 F’roposed Order' for Pr‘elirninar‘y injunction

10122!2010 Notice Of Service of Discovery
10125!20‘10 Notice ot Cornpliance

Hearing result for Hearing Scheduied held on
1012812010 10128!2010 02:30 PM: Hearing i-ieid Order for
Preliminary injunction - in Chambers

11!12!2010 Notice Of Sen»'ice

11!17i2010 Notice Of Service

11124!20‘10 Order For‘ Preiiniary injunction
1113012010 Notice of Depositing of Bond

Notice Of Vacating Deposition Duces Tecum Of Ada
12;02£2010 County's Custodian Ot Records

12114/2010 (2) Notice Ot Service
12115!2010 Notice Of Taking Deposition
01!03!2011 Nolice OfTaking Deposition Duces Tecum

Notice Of Taking Deposition Duces Tecum of
Custodian of Record For Ada County

Motion to Quash or in the Alternative, to Nlodity and
01114!2011 Condition Compliance With the Deposition Sul)poena
Duces Tecum to Ada Counly Custodian of Records

Affidavit of Doug Heikkila in Support of Motion to
Quash or in the Aiternative, to Modify and Condition
Cornpliance Wlth the Deposition Subpoena Duces
Tecum to Ada County Cuslodlan of Recoi'ds

Affidavit of Robert Pei'kins in Support of Nlernornadum
in Support of Motion to Quash or in the A|ternative, to

01114!2011 Modify and Condition Compliance With the Deposition
Subpoena Duces Tecum to Ada County Custodian of
Records

Affidavit of Bret Lopeman in Support of Memor'andum
in Support of Nlotion to Quash or in the Altei'native, to

01114!2011 Modity and Condition Comp|iance With the Deposition
Sulopoena Duces Tecum to Ada County Custodian of
Records

Nlemorandum in Support of Motion to Quash or in the
Alternative, to Modify and Condition Comp|iance With
the Deposition Subpoena Duces Tecum to Ada County
Custodian of Records

Affidavit of Jana B. Gomez Esq. in Support of
Niernorandum in Support of Motion to Quash or in the
01114!2011 A|ternative, to Modify and Condition Comp|iance With
the Deposilion Subpoena Duoes Tecum to Ada County
Custodian of Records
Atfidavit of Ronald Surratt in Support of Memor'andum
in Suppor‘t of Nlotion to Quash or in the Alternative, to
0111412011 Modify and Condition Complianoe With the Deposition
Subpoena Duces Tecum to Ada County Custodian of
Records
02102/2011 Motion for Nonsummary Contempt Proceeding

Affidavit ot Brian J. Holleran in Suppor't of Motion for
02;02;2011 Nonsun"imary Contempt Proceeding
Affidavit of Jason G. Dykstra in Support of Motion for
Nonsumrnary Contempt Proceeding
Affidavit of Ronaid L. Osborne in Support of Nlotlon for
Nonsummary Contempt Proceeding

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Aflidavit of Zach D, Heesch in Support of Motion for
Nonsummary Contempt proceeding

Memorandum in Support of Motion for Nonsummary
Contempt Proceeding
Notioe Of i~lean`ng re Motion for Nonsumrnary
Contempt Proceeding (02122111 @ 11 ami
Hearing Scheduied (Motion 02!22!2011 11:00 AlVl)
Motion for Nonsumr'nary Conternpt Proceeding
02},04),2011 Notice Of Hearing (02122111 @ 11;00 AM l'vlotion to

Quash)
02104/2011 (2) Aft"idavit Of Service {02!03!11)
02;08;2011 Motion to Disrniss and Strike Motion for Nonsummary
Contempt Proceeding
02!0812011 Second Af'fidavit of Jana B Gomez Esq
021081’2011 Second Affidavit of Doug Heil<l<ila

Memorandum in Support of Motion and Reply
02!08!2011 Memorandurn in Support of Motion to Quash or Modity
to Ctuash
Notice 01 Hear`rng Re l'vlotion to Dismiss and Stril<e
Motion 2.22.11@11AM
Notice of Opposition to Ads County‘s Nlotion to Ouash
or in the Alernative to |Vlodify & Condition Compliance
with the Deposition Subpoena Duces Tecum to Ada
County Custodian of Records
0211512011 P|aintiffs Motion to Amend Veritied Compiaint
02:’15!2011 Atfidavit of Jason G Dykstra
02!1512011 Memorandurn in Support of Plaintitfs lvlotion
02115;2011 Notice or nearing (03101111 @ 4:00pm)

Hearing Scheduled (i-learing Scheo'u|ed 03101!2011
04:00 PM) l\)lotion to Arnend \/erified Compleint
|~learing result for Nlotion held on 0212212011 11:00
AM; District Court i~learing Held Court Reporter: V.
021221’2011 Gosney Number of Transcript Pages for this hearing
estimated: Motion for Nonsurnmary Contempt
Proceeding - less than 100l
0212212011 Affidavit of Jason Scott
Memorandum in Opposition to Plaintiffs Motion to
02;22’{2011 Amend Verified Cornplaint
Attidavit of Justin A Steiner in Opposition to Piaintiff`s
Motion to Amend Verified Complaint
Nlemorandun'i in Opposition to Arnend Verified
Complaint
Rep|y Brief in Support of Plaintitf's Motion to Amend
Verified Comp|aint
02!281’2011 N‘iemorandum
Hearing result for i-learing Scheduled held on
0310112011 04:00 PM: District Court i-learing i-letd
03!01!2011 Court Reporter: \/. Gosney Number of Transcript Pages

for this hearing estimated: Motion to Amend Verified
Complaint less than 100

Heartng Scheduled (Motion 0310312011 03:00 PN|) for
Cost of Production

Supp|ementa| lvlemorandum in Support of Motion to
0310112011 Modify and Condition COmpliance with the Deposition
Subpoena

03101!2011 Third Aft"idavit of Doug Heii<kila
03101!2011 Third Affidavit of dana Gomez

021021'201 1
02102!201 1
021'0212011

0210212011

02!08!201 1

021091'201 1

021'151'201 1

021221201 1
021221’2011

0212512011

031'011'201 1

Nlemorandum in Opposition to Nlernorandum in

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031'0212011 Support of Motion to Nlodify

Hearing result for Motion held on 03103¢‘2011 03:00
F’M: District Court l~learing l-ie|d Court Reporter: V.
Gosney Nurnber of `l'ranscript Pages for this hearing
estimated: for Cost of Production - less than 100

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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Fiied 03/11/11 Page 7 of 78

EXHIBIT 2

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Michael E Baldner, ISB #5104
larson G. Dyltstra, ISB #6662
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755 W. Front Strect, Suite 200
Boise, Idaho 83?02

(208) 342-6066 Telephone
(208) 336-9712 Facsimile

dykstra@lawidaho.com
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Attome_vs for Plaintiff`Weslem Beneftt Solutions, LLC

Filed 03/11/11 Page 3 Of 73 Paqe= 004

 

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lN 'l`HE DISTRICT COUR'I` Ol" '£`]-IE FOURTH JUDICIA.`L l)lS"l`RICT

OF THE STATF. OF IDAHO, lN AND FOR THE COl,lNTY OF ADA

WESTERN BENEFI"I` SOLU'}`"{ONS , LLC,
an Itlaho limited liability company,

Plaintiff,

CaseNu. M @@ igggzég

VERIF{ED COMPLAINT,

APPLICATION FOR TEM'PORARY

v. RESTRAINTNG ORI)ER, AND

JOHN GUSTIN, an individual, and
MU.RETON INSURANCE OF IDAHO,
INC., an Iclaho corporation dil)fa MORETON
& COMPANY,

Defendants.

 

 

APPLICATION FOR PRELIMINARY

INJUNC'I`I ON

_Fee Category: A
Fee: $88.00

COMES NOW, Pfaintiff Westcrn Benef`xt Solutions, LLC, by and through its attorneys of

record, Mculcman Mollerup LLP, and for a cause of action against Det`endants Jolm Gustin and

Moreton lnsurance of Idaho, lnc. dfb/a Moreton & Company, complains and alleges as follows:

VRRI`F]EB COMPLAKNT, APPLICATION FOR TE`MP{)RARY RESTRAINING ORDER, AND

APPI,ICAT{ON FOR PRELIIVHNARY IN.IUNCTION - Page 1

Da“"“ tmi/3010 Tc'a'~’selititt-tev-t'ioo’§e%i§s£‘it?v\ft)§°t§ticeinent 1-2 i=iied 03/11/11 Page 9 or?s Pags- 005

PARTIES

t. At all times material hereto, Plaintiff Westenl Benef`lt Solutions, l,LC (“Plaintiff" or
“WBS”) was and is an ldaho limited liability company doing business in the State of idaho

2. Defendant .iohn Gusti.n (“Gustin”) is a resident of the Si.atc of Idaho.

3. Moreton Insurance ol"Idaho, I.nc. (“Moreton”) is an .ldaho corporation doing business
in the State of fdaho and utilizing the assumed business name, Moreton & Cornpany, in the
transaction of business

.}URISDICTION ANI} VENUE

4. Jurisdiction is proper in this district, since the Court has subject matter jurisdiction
over this action pursuant to Idaho Code § 1-?05, and personal jurisdiction over the above~narned
Det`endants pursuant to Idaho Code § 5~514.

5. Venue is proper in Ada County pursuant to Idaho Code § 5-404 since one or more
Defendants either reside or maintain their principal place of business in idaho within this districtl
The amount in controversy in this Iawsuit, exclusive of interest and costs, exceeds the jurisdictional
minimum of this Court.

6. This lawsuit arises ii'orn a commercial transaction, as such tennis defined in ldaho
Code § 12-120(3), between WBS and Gustin.

G lill\'.‘inAI.J ALLEGATIONS

7. Based in Boise, ldaho_. WBS provides employee benefits consulting, and brokerage

servicesn which designs and implements ernployer»sponsored healdi insurance plans for large private

businesses public entities, and non-profit organizations

VERIFIED COMPLAINT, APPLICATION FOR TEMPOR.ARY RESTRA_INlNG ()RDER, AND
APPLICATION FOR PRELIMI`NARY INJUNCTION - Page 2

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8. Gustin formerly worked as a Vice President, Sa]es for WBS until his termination
effective April 6, 2010.

9. Gustirr is presently employed by Morcton, which afso provides employee benet`rts
consulting1 brokerage services, and designs and implements emptoyer-sponsored health insurance
plans

10. 't`hjs action arises out ot`the breach of an employment agreement (the “Agreeme.nt”)
between WBS and Gustin entered into on or about April 10, 2009. Attach ed hereto as Exhibit A and
incorporated into this Veriiied Complaint, Application for Ternporary Restraining Order, and
Apptication for Pre.liminary lnjunction (the “Veriticd Complaint”) is a true and correct copy of the
Agreenrent signed by Gustin.

t 1_ WBS offered Gnstin continued employment as adequate and valuable consideration
for Gustin entering into the Agreernent_

12. WBS did not negotiate or enter into the Agreernent in bad faith.

FIRST CAUSE OF ACTI(}N
(Bru+:rrcu oF Cou'rrotc'r AGA msr Gus’r;u)

]3. Plaintiff repeats and realIeges each and every allegation set forth in Paragraphs 1
through 12, inclusive, as though fully set forth herein

14, On or about April 10, 2009, Gustin entered into the Agreernent {attached hereto as
Exhibr't A).

15. WBS fully performed atl obligations of it under the Agreemerrt.

16. Notwithstanding Gustin’s termination, he remains bound by certain terms of the

Agreerncnt.

VERI`FIED COMPLAINT, APPLICATION FOR TEMPORARY RESTRAININC ORDER, AND
APPLICATION FOR PRELIMZNARY TNJ'UNCTION - Page 3

Date‘ 4” 23""°1“ ease iiri-bt/-doodel-]EE'M-“€‘tn/t>a°o'tiéthifem 1-2 Filed 03/11/11 Page 11 of 731’*»‘°€‘ °°7

l?. Pnrsuant to Section 6 of the r\greernent, Gostin agreed that he would riot “directly or
indirectly, disclose, i"urnish, pnblish, make accessible to others or make any use of . . _ confidential
information.” Such confidential information includes, but is not limited to, “the names of customers,
poiioy expiration dates, policy terms, conditions and rates, familiarity with the customer’s risk
characteristics, and information concerning the insurance markets for large or unusual commercial
risks."

13. Gustin has breached the Agreement by disclosing the names and confidential
information regarding certain WBS clients related to their accounts and lines of coverage to
Moreton.

19. Pursoant to Seetion 8 of the Agreernent, for a period of eighteen (]S) months
following his termination, Gustin cannot “directly or indirectly solicit, market or provide services for
any customer or client that Key Ernployee [Gustin} established developed, serviced, had a
relationship, or nurtured during the term of hisi'her employment at WBS.”

2{). Gustin has breached the Agreenrent by directly or indirectiy soliciting, marketing
andi‘or providing services to WBS clients orr behalf of Moreton,

21. Pnrsnant to Section ? of the Agreernent, upon his tennination, Gustin was
immediately required to deliver to WBS or its authorized representative all copies of materials
furnished to him by WBS or used by him during his employment with WBS.

22. Following his tennination, Gustin breached the Agreernent by failing to irrnnediately
deliver to WBS or its authorized representative all copies of materials furnished to Gustin by WBS

or used by Gostin during his employment with WBS.

VI:`,RIFIED COMP.LAU*IT, APPLICATION FOR TEN[PDRARY RESTRAKNING ORDER, AN`D
APPLICAT [()N FOR PRELIMINARY INJ'UNCTI()N - Page 4

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23. ()`ustin has further breached the Agreemcnt by directly and!or indirectly soliciting at
least one Key Eniployees of WBS, 'l`amie Cooper, to work for Moreton.

24. As a direct and proximate result of the foregoing breaches of eontraet, WBS has been
damaged in an amount to be proven at trial

25 _ Plaintifflras been required to retain the services ofan attorney to bring this suit and is
entitled to an award of reasonable attorney s’ fees incurred in bringing this suit, pursuant to,
inter olfa, the Contract and ldaho Code §§ l_2- l 20(1), 12-120(3), and 1242], and Rule 54(e) of the
Idaho Rnles ot`Ci.vil Procedure.

SECOND CA USE OF ACTION
(IN'rsNTroNAt, lm‘enranr:rsca wire CoNrnACT]

26. Plaintiff repeats and realieges each and every allegation set forth in Paragraplrs l
through 25, lnclusive_. as though fully set forth herein

27. Gnstin disclosed the identity of certain W`BS clients and contidential information
related to their accounts to Moreton in order to assist or induce Moreton to acquire the accounts of
Fast Enterprises, lnc., and potentially other clients

28. Based upon information and belief, Gustin and/or Moreton have intentionally
interfered with these aceounts, in an effort to cause I"ast Enterprises, lnc., and potentially other
clients, to breach their agreements with WBS.

29. WBS has suffered or will suffer damages as a direct result of Gestin andr'or Moreton’s
intentional interference with the accounts referenced hereinabove

30. Plaintiffhas been required to retain the services of an attorney to bring this suit and is

entitled to an award of reasonable attorneys’ fees incurred in bringing this suits pursuant to,

VERIFIED CO]\'H’LAINT, APPLICATION FOR TEMPORARY RESTRAINING ORI)ER, AND
APPLICATION FO.R PRELIMINARY IN.}UNCTION - Page 5

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inter alia the Contract and ldaho Code §§ 12-120{1), l2-120(3), and 12-121, and Rule 54(e) ot"the

Idaho Rules of Civil Procedure.

'I`HIRD CAUSE OF ACT§ION
(INrENTIoNAL INTERFERENCE wire PRosPEC’rrvn EcoNoMlc onANTAon)

3 i_ PlaintiH` repeats and realleges each and every allegation set forth in Paragraphs t
through 30, inclusive, as though fully set forth herein

32. WBS possessed a valid economic expectancy in its accounts with its clients, including
Fast Enterprises, hic. and potentially other ciients.

33. Gustin and!or Moreton have knowledge cf WBS’s expectancyl

34. Based upon information and bclicf, Gustin andfor Moreton intentionally interfered
with WBS’s expectancy, inducing the termination of the expectancy

35. Gustin andfor Moreton interfered for an improper purpose or by improper means

361 WBS has suffered or witt suffer damages as a direct result o't`Gustin andfor Moreton’s
disruption of its economic expectancy referenced hereinabove

37. Plaintit`ic has been required to retain the services of an attorney to bring this suit and is
entitled to an award cf reasonable attorneys’ fees incurred in bringing this suit, pursuant to,
inter oliu, the Contract and idaho Code §§ 12~120(1), 12~120(3), and 12-121, and Rule 54(e) of the
idaho Rulcs of Civil Pro ccdure.

FOURTH CAUSE OF ACTION
(IN.ruNcrlvn Rr»:m:r)

38_ Plaintit`i` repeats and realleges each and every allegation set forth in Paragraphs l

through 3?, inclusive, as though fully set forth herein

VERIF_IED COMPLAINT, APPLICA'I`ION FOR TEMPORARY RESTRAIN[NG ORI)ER, AND
AP?I¢ICATION FO`R I’RELIM!NARY IN.}UNC'I`ION - Page 6

D"=‘*~e‘ 4/ ”’ 2°1° class ’i:'ti-tlt/-doo§§l-]EUEPCWE)B°tiééiinieni 1-2 Filed 03/11/11 Page 14 of 73¥’&“‘ °1°

39. l~`or a period ofeighteen (l 8) months following his termination, Gustin has a legally-
recognized duty not to “directly or indirectly so.licit, market or provide services i`or any customer or
client that key employee [Gustin] established developed serviced, had a rclationship, or nurtured
during the term ol" his)’her employment at WBS.”

40. Gnstin further shall not “directly or indirectly disclose, furnish, publish, make
accessible to others . . . confidential information." Such confidential information includes, but is not
limited t'o, “the names of customers, policy expiration dates, policy tenns, conditions and rates_,
familiarity with customer’s risk characteristics and in{onnation concerning the insurance markets for
large or unusual commercial risks.”

41. Gustin also has a legal recognized duty to not directly or indirectly solicit any ol`
WBS’s key employees to work for any competitive company

42. lf Gustin is allowed to continue breaching the Agreernent by: (l) disclosing thc
identity ot` WBS clients and confidential information related to their lines of coverage to Moreton,
(2) directly or indirectly soliciting, marketing to, or providing services for customers or clients that
Gustin interact-ted with while an employee of WBS, (3) retaining materials furnished to Gustin by
WBS or used by (iustin during his employment with WBS, and {4) directly or indirectly soliciting
WBS’s key employees to work for Moreton, then WBS will be irreparably harmed

43. WBS is likely to succeed on the merits of its claims

44. if the Conrt does not grant injunctive relief as requested, then Gustin and Moreton
will be able to destroy or interfere with the good will and!or client relationships that WBS has

invested substantial time and resources creating

VERIFIED COMPLAINT, APPLICATION FOR 'I`EMPORARY RESTRAINH\'G ORDER, AND
APPLICAT¥ON FOR }’RELIMINARY TNJUNCTI.ON - Psge 7

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45. l’ursuant to the service of this Verilied Complaint, WBS has provided notice to
Gustin and `Moreton of its request for injunctive relief

46, The injunctive relief requested including a temporary restraining order, a preliminary
injunction, and permanent injunction, will not unduly harm either Gustin or Moreton.

4';'. On balance, the manifold prejudice to WBS far outweighs any potential prejudice to
either Gustin or Moreton.

48. No public policy issue predominates or will bar WBS’s claims Rather, this issue
involves a private, personal, iminediatc, and irreparable injury to WBS due to wrongful conduct by
Gustin and Moreton.

49` Plai nti ff has been required to retain the services of an attorney to bring this suit and is
entitled to an award of reasonable attorneys’ fees incurred in bringing this suit, pursuant to,
inter alia, the Contract and ldallo Code §§ lZ-lZO(l ), l2-l?.0(3), and 12- lZI, and Rule 54(€:) ol`the
ldaho Rules of Civil Procedure.

A'I`TORNEYS’ FEE-S AND COSTS

To bring this suit, Plaintiff has retained the services of Meuleman Mollerup LLP and is
entitled to an award of attorneys’ fees and costs pursuant to Idaho Code §§ l2-120(3) and 12-123,
and Rnle 54 ot`the lu’aho Rules ofCivil Procedure. In the event ofdefault, Plaintiii` claims attorneys’
fees and costs in the amount of Five Thousand and not 100 Dollars ($5,000.()0).

PRAYER FOR RELIEF

WHEREFORE, Plaintili prays forjuclgment as follows:

I. As to the First Cause ofAction, the entry ofJudgrnent in favor o'fthe Plaintiff against Gustin

as follows:

VERIFlED COI'V{PLAI.NT, APPLICATION F{)R TEM]’()RARY RES'I`RAINING ORDER, AND
A.PPLICAT iON FOR PRELIM]NARY INJUNCTION - Page 8

mm 4’ 38’ 2010 Ea%’eltfii-'t£l/-dnoss-ll§‘btff‘trwbS°tiébiitriem 1-2 Filed 03/11/11 Page 16 of 7sPe<=@‘ m

a) For an amount to be proven at trial, but not less than Ten 'I`housand and no!lOU
Dollars (S 10,000.00), together with interest thereon at the maximum rate allowed by
iaw;

b) For attorneys’ fees and costs in the sum of not less than Five Thousand and noll 00
Dollars (SS,D(}U.GG) if judgment is entered by default1 and such further amounts as the
Court may find reasonable if this matter is contested', and

c) F or such other and further relief as the Court deems just and proper

.Il. As to the Second and 'l`hird Causes ofAction, the entry ofJudgment in favor of the Plaintil‘f
against Gustin and Moreton (colleetively, “Def`endants”) as followsl

a) For an amount to be proven at tria], but not less than ’l`en Thousand and noll@(}
Dollars ($10,0{}0.00), together With interest thereon at the maximum rate al§owed by
iaw;

b) For attorneys’ fees and costs in the sum of not less than Five Thonsand and nol l lift
})ollars ($5,000.00) if judgment is entered by default, and such further amounts as the
Court may find reasonable if this matter is contested; and

c) tier such other and further relief as the Court deems just and proper.

l`ll. As to the Fourth. Cause of Action, the entry of Judgnient in favor of the Plaintifi` against
Gustin and Moreton as follows:

a) l»` or a temporary restraining order preserving the status quo and enjoining (l) Gustin
from disclosing the identity ofWBS clients and confidential information, including
economic terms related to their lines of coverage, (2) Gustin and Moreton from

directly or indirectly soliciting, marketing to, or providing services for customers or

VERIFIED COMPLAINT, APPLICATION FOR 'Z`EMP[)RARY RESTRAI.NING ORDER, AN'D
APPLI(,‘ATION F{)R PRF.LZM`INARY INJ`UNCTION - Page 9

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clients that Gustin interacted with while an employee of WBS, (3) Gustin from
retaining materials furnished to Gustin by WBS or used by Gustin during his
employment with WBS, and (4) Gustin from directly or indirectly soliciting WBS’s
key employees to work for Moreton in violation of the Agreement_;

b) For a preliminary injunction that enjoins (l) Gustin from disclosing the identity of
WBS clients and confidential inlbrmation, including economic terms related to their
lines ot` coverage, (2) Gustin and Moreton from directly or indirectly soliciting5
marketing to, or providing services for customers or clients that G'ustin interacted
with while an employee ot` WBS, (3) Gustin i`rorn retaining materials furnished to
Gustin by WBS or used by Gustin during his employment with WBS, and (4) Gustin
from directly or indirectly soliciting WBS‘s key employees to work for Morcton in
violation of the Agrecment',

cl li’or an injunction that enjoins (l) Gustin and lvloreton from directly or indirectly
soliciting, marketing to, or providing seiw'ices for customers or clients that Gustin
interacth with while an employee of WBS, and (2) Gustin from directly or indirectly
soliciting WBS’s key employees to work for M_orcton in violation ofthe Agreernent
for a period of eighteen (l 8) months;

d) For a permanent injunction that enjoins Gustjri from (l) disclosing the identity ot`
WBS clients and economic terms related to their lines ot`coverage, and (2) retaining
materials furnished to Gustin by WBS or used by Gustin during his employment with

WBS;

VER],FIED C{)MPLAINT, APPLICATION FOR ’I`EMPOR_ARY RESTRAINING ORI)ER, AND
APPLICATZON FOR PRELIMINARY INJUNCTION - Page 10

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e) l"or a judgment for compensatory damages in favor of WBS against Gnstin and

`Moreton in an amount to be determined at triai;

i) For an order relieving WBS of having to file a bond for the injunctive reiiei`
requested;
g} For attorneys’ fees and costs in the sum of not less than Five "I`hottsand and no," l 00

Doliars ($5,000.00) if judgment is entered by default, and such further amounts as the
Cotirt may find reasonable if this matter is contested; and
h) li`or such other and further relief as the Conrt deems just and proper.

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MEULEMAN MOI l ERilP l LP

/M/%wej/

ason G Dykstta
Att'orneys for Plaintiff

VERI_F£ED COi\IPLAINT APPLICATION FOR T EMPORARY RESTRA}[NWG ORDER, AN})
APPLICATION li`OR PRE[ IM]NARY IN. }`UNCT ION- Page 11

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§§ERIFICATIQ_H
STATE OF lDAHO )
) ss.
COUNTY OF ADA )

Ronald L. Osbome, being first dniy sworn on oath deposes and states:

'i`iiat he is a Manager of Western Benciit Solutions, LLC, Plaintiii` in the above-entitled
aetion, that he has read the foregoing document and knows the contents thereof and that the
statements therein made are true and correct to the best of his inforniation, knowledge, and belie’r`.

WESTERN BENEFIT SOLUTIONS, i_,LC

raree£_/ _

Ronaid L. Osbome
Its: Manager

 

SUBSCRIBED AND SWORN to before me this 27+)`_ day oi`April 2010.

`\\ \\“;:"é”l%
inns ii a
Notary Public in and f`or idah

My Cornmission Expires:___E¢,_L, Hg:§__¢_i_§__m_

 

 

\ ER]F}ED COMPLAINT, APPLICATION FOR "IEMPURARY RESTRA lNING ORDER, AND
APPLICAT¥ON FOR PRELIMINARY INJUNCTION Page 12

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EXHIBIT A

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AGREEMENT

Agreemerit dated _if:, day of A.f:"f“i l , ZOO_J:?L_,_ between Western Benetit
Solntions (“WBS"), and "I`C`I'-Y`r‘('". (~r i)__$` it‘(\ H__ (_“Key Employee”}.

INTRODUCTION

'l`his Agreement is intended to set forth the terms and conditions of the empioyment
relationship between WBS and its Key Employee, 'l`his relationship is based on the agreement
and understanding of the parties that WBS is the owner of the business relating to WBS
Customers as these terms are used below, and that these customers'cornpiise a substantial pan o
the good will of WBS. To protect the business and good will of WBS, and the confidential
infomiation belonging to WBS, the parties have agreed to a limited period of noncompetition
and to nondisclosure of confidenti al information following termination of employment Snch
limitations relate solely to WBS Business and WBS Ccstomers, and are intended to permit Key
Employee to remain in the insurance and brokerage bnsiness, if lie/she so desires

AGREEMENTS
WBS and Key Employee agree as follows:

t_ Key Ernployee a Ernployee acknowledges and agrees that lie/she is a Ke
Employee by reason oi`tbe Employer’s investment of time, money, trust, exposur
to the public, exposure to technologies intellectual property, business plans
business processes and methods of operation, customers vendors or othe
business relationships during the course of employment Furtherrncre, Ke_'
Employee Will gain a high~levcl of inside lenowiedge, influence credibility
notoriety as a representative or spokesman of the Ernployer, and as a resul
thereoi`, will have the ability to harm or threaten the Employer’s legitimati
business interest

2. Employment; Compensation WBS agrees to employ Key Employee during
the period of this Agreement and to pay Key Em ployee such compensation as is
mutually agreed upon from time to time. Such compensation may only be
changed by written agreement of the parties and shali be full compensation for
services performed under this Agreement.

3. Performancc by Key Ernployee ~» Employee agrees to devote his/her entire
business time and effort to the furtherance of the business of WBS and to perform
faithfully to the best of hisfher ability all assignments of work given to himi’her by
WBS.

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WBS Business -- All business and fees relating *'~~.__third party benefits
administrat _ i, consulting lii`e, hcalth, long tenn hl"are, brokerage and other
services engaged in from time to time by WBS during the term of this .Agreement
(collectively, the “WBS Business"), produced or transacted through the efforts of
_Key Employce shall be the sole property of WBS and its subsidiaries l(ey
Employee shall have no right to share in a commission or fee resulting from the
conduct of such business other than as compensation referred to in paragraph 2.

Premiums and Co|lections Premiums, commissions or fees on the WBS
Business produced or transacted through the efforts of Key Ernployee shall be
invoiced to the customer or account by WBS. All checks or bank drafts received
by Kcy Employee from any customer or account shall be made payable to WBS;
and all premiums commissions or fees shall be collected by Key Ernploycc in the
name of and on behalf of WBS.

Conlidcntial Information _ Key Bmployee acknowledges that in the course of

.hislher employment hereunder, lie/she will become acquainted with confidential

information belonging to WBS. This information relates to pcrsons, firms, and
corporations which are or will become customers or accounts of WBS during the
tenn of this Agreemcnt, and sources with which insurance is placed (“WBS
Customcrs”) and includes but not limited to, the names of customers policy
expiration dates, policy terms, conditions and rates, familiarity with customer’s
risk characteristics and information concerning the insurance markets for large or
unusual commercial risks. `l`he confidential information also includes all
information disclosed to Key Employec or known, learned, created or observed as
a consequence of his/her employment not generally known in the relevant trade
about WBS‘s business activitiess products processes and scrvices, trade sccrets,
research and development programs1 business plans, customer lists, potential
customer lists, pricing, business strategies, financial information, marketing and
salcs. Key Employee agrees that at any time during or after hisx'her employment
hc/she will not, without the Written consent of WBS, directly or indirectly,
disclose, furnish, publish, make accessible to others or make any use of such
confidential information except as may be required in the course of his/her
employment hcreunder.

Protection of WBS Property - All records, iiies, manuals, customer lists, blanks,
forms, materials, supplies, computer programs and other materials furnished to
the l<ey Ernployce by WBS, used by Key Employee on their behalf, or generated
or obtained by Key Employee during the course of employment, shall be and
remain the property of WBS. Key Ernployee shall be deemed the bailee thereof
for the use and benefit of WBS and shall safely keep and preserve such property,
except as consumed in the normal business operations of WBS. Key Employee
acknowledges that his/her property is confidential and is not readily accessible to
WBS’s competitors Upon termination of employment bereunde'r, the Key
Ernploycc shall immediately deliver to WBS or its authorized representative all

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such propr““-r}7 including-all copies, remaining i' `}e Key Ernpioyee’s possession
or control. ’ "

Nonsolicitatien of Certain WBS Customers Upon termination of employment
hereunder, Key Employee agrees that for a period of eighteen (18) months
following such termination, Key Employee will not directly or indirectly solicit,
market or provide services for any customer or client that Key Empioyee
established developed, serviccd, had a relationship with, or nurtured during the
term ofhislher Ernployment at WBS.

Organizing Competitive Businesses; Soliciting Company Key Ernployees -
Employee agrees that so long as he/she is Working for WBS lie/she will not
undertake the planning or organizing of any business activity competitive With the
work lie/she performs at WBS. Key Bmployee agrees that hefshe will not, for a
period of eighteen (13) months following termination of employment with WBS,
directly or indirectly, solicit any of WBS’s Key Employees to work for Key
Employee or any other competitive company

Certain Corn missions and Fees - li` any commission or fee becomes payable to
Key Ernployee or to any person, firm or corporation by whom Key Einployee is
then employed as a result of`a breach by Key Employee of the provisions of
paragraphs 5, 6, 7, 8 or 9 of this Agreernent, Key Ernployee agrees to pay, or to
cause hisr'her new employer to pay, promptly to WBS an amount equal to such
commission or fee.

Entirc Agreement; Severahility - T his Agreement sets forth the entire
Agreement between the Key Employee and WBS, and supersedes any and all
prior agreements and understandings3 with respect of such employment It` any
term of this Agreement is rendered invalid or unenforceable byjudicial,
legislative or administrative action, the remaining provisions hereof shall remain
in t`ull force and effect and shall in no way be ai`fected, impaired or invalidated
The Key Employee represents that lie/she has not and will not enter into any
agreement inconsistent herewith 'l`he Key Employee agrees that any breach of
this Agreernent by him/her would riot be susceptible to adequate relief by way of
damages alone and that, in the event ot` such breach, WBS would be entitled to
specific performance or injunctive or other equitable relief.

Terrnination w This Agreement (othcr than paragraphs 6, 7, 8 and 9 hereol) may
be terminated by either party upon fifteen (15) days prior Written notice given to
the other, or by other Written agreernt':ntl Subject to the required fifteen (15) days
notice, the employment of Key Employee is AT-WILL and there are no other
agreements or understandings regarding Key Ernployee’s employment

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13. Binding Nature of Agreement- This Agreement Shall inure to the benef`n and
be binding upon and enforceable against the heirs and legal representatives and
assigns of WBS. The Key Employec may not assign this Agrccment.

fN WTTNI:€SS WHEREOP`, the parties hereto executed this Agrccment as of the date first
above written

 

WESTERN BENEFIT SOLUTIONS

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'~M\CYY_T é€_)`f;>“ji') \'\:
KEY EMPLOYEE NANIE

Key Empioyee

 

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EXHIBIT 3

  

l_L-CWD Document 1-2

Michael E. Baldner, lSB #5104

Jason G. Dykstra, ISB #6662
MEULEMAN MOLLERUP LLP

?55 W. Front Street, Suite 200

Boise, Idaho 83702 o
(208) 342-6066 Telephone

(208) 336-9712 Facsimile

dykstra@lawidaho.com
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Attorneys for Plaintiff Western Benetit Solutions, LLC

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DEF|.ITY

IN THE DISTRICT COURT OF 'I`HE FOURTH JUDICIAL DISTRICT

OF TI'IE STATE OF IDAI-IO, IN AND FOR THE COUNTY OF ADA

WESTERN BENEFIT SOLUTIONS , LLC,
an Idaho limited liability company,

Plaintiff,
v.

JOHN GUSTIN, an individual, and
MOR.ETON INSURANCE 013 IDAHO,
lNC,, an Idaho corporation dfbfa MORETON
& COMPANY,

Defendants.

 

 

CaseNo.cv 00 1008362

SUMMONS

[John Gustin]

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMEI) PLAINTIFF(S). THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER
NOTICE UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE

INFORMATION BELOW.

TO: Mr. .lohn Gustin
Moreton & Com pany
12639 West Explorer Drive
Boise, ID 83713

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated court within 20 days after service ot`this Surnmons on you.

SUMMONS - Page l

Case 1:11-cv-00099-FSL-CWD Document 1-2 Filed 03/%13:§11 Page 27 of 78

lt`you fail to so respond the court may enter judgment against you as demanded by the plaintiff(s) in
the Complaint.

A copy of the Complaint is served with this Summons. If you wish to seek the advice or
representation by an attorney in this matter, you should do so promptly so that your written response,
if any, may be filed in time and other legal rights protected

An appropriate written response requires compliance with Rule lO(a)(l) and other Idaho
Rules of Civil Procedure and shall also include:

l. The title and number of this case.

2. If your response is an Answer to the Complaint, it must contain admissions or denials
of the separate allegations of the Compiaint and other defenses you may claim.

3. Your signature, mailing address and telephone number, or the signature, mailing
address and telephone number of your attorney.

4. Proof of mailing or delivery of a copy of your response to plaintiffs attorney, as
designated above.

To determine whether you must pay a filing fee with your response, contact the Clerk of the
above-named Court.

DATED this § `i day er inpativa mm
cLERK or rita DISTRICT COURT

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Byr j\ i\jm\ii\\il
Depl)ty

SUMMONS - page 2

Case 1:11-cv-00099-F§L-CWD Document 1-2 Filed 03/1(1.§1 Page 28 of 78

Michael E. Baldner, ISB #5104
Jason G. Dykstra, ISB #6662
MEULEMAN MOLLERUP LLP
755 W. Front Street, Suite 200
Boise, Idaho 83702

(208) 342-6066 Telephone
(208) 336-9712 Facsimile

dykstra@lawidaho.com
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Attomeys for Plaintifi` Western Benetit Solutions, LLC

`I'iiv!OTHY .HANSEN

 

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.J: BAV!Q NAVAF\HO, mark
By F. BCUHNE
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IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND FOR TI~IE COUNTY OF ADA

WESTERN BENEFIT SOLUTIONS , LLC,
an Idaho limited liability company,

Plaintiff,
V.

JOHN GUSTIN, an individual, and
MORETON INSURANCE OF IDAHO,
INC., an Idaho corporation d/br'a MORETON
& COMPANY,

Defendants.

 

 

CaseNo. iv n ij ij DB@§©E§

SUMMONS

[Moreton Insurance of Idaho, Inc.]

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF(S). THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER
NOTICE UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE

INFORMATION BEI.,OW.

TO: Moreton Insurance of Idaho, Inc,

cio Allan M. Ranstrom, Registered Agent

6223 N. Discovery Way, Suite 200
Boise, ID 83713

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated court within 20 days after service of this Summons on you.

SUMMONS - Page l

Case 1:11-cv-00099-|i§L-CWD Document 1-2 Filed 03/1('1%1 Page 29 of 78

ll`you fail to so respond the court may enterjudgment against you as demanded by the piaintii`t`(s) in
thc Complaint.

A copy of the Complaint is served with this Summons. If you wish to seek the advice or
representation by an attorney in this matter, you should do so promptly so that your written response,
if` any, may be filed in time and other legal rights protected.

An appropriate written response requires compliance with Rule lO(a)(l) and other Idaho
Rnles of Civil Procedure and shall also include:

l. 'l` he title and number of this case.

2. If your response is an Answer to the Complaint, it must contain admissions or denials
of the separate allegations of the Complaint and other defenses you may claim.

3. Your signature, mailing address and telephone number, or the signature, mailing
address and telephone number of your attorney.

4. Proof of mailing or delivery of a copy of your response to plaintiffs attorney, as
designated above.

To determine whether you must pay a filing fee with your response, contact the Clerk of the
above-named Court.

DATED this<Q l clay of ApriliOiO. w M'Wo
CLERK OF THE DISTRICT COURT

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SUMMONS - Page 2

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EXHIBIT 4

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THE STATE OF lDAHO, IN AND FOR THE COUNTY OF ADA "'"EP“"

Western Benefit So|utions, LLC Pia.m“.ms}:

AFF|DAV|T OF SERV|CE
vs_

D fe d t _ Case Number: CV OC 1003362
John Gustin et ali 9 " an (S).

For:

Meu|eman Nlo||erup LLP
755 W. Front St., Ste. 200
Boise, |D 83702

STATE OF iDAHO )
138
COUNTY OF ADA )

Received by TR|~COUNTY PROCESS SERVlNG LLC on Apri| 27, 2010 to be Served on JOHN
GUST|N_

|, Antonio Roque, who being duly sworn, depose and say that on Wednesdav, Apri| 28, 2010, at 10:45
AM, |:

SERVED the within named person(s) by delivering to and leaving with JOHN GUSTIN a true copy of the
Sumrnons, Verified Comp|aint, Application for Temporary Restraining Order, and App|ication for

Preliminary lnjunction . Said service was effected at Moreton & Company, 12639 W. Explorer Dr.
Ste. 100, E|oise, lD 83713.

l hereby acknowledge that | am a Process Server in the county in which service was effected l am over
the age of Eighteen years and not a party to the action

Our Reference Number: 94732
C|ient Reference_' Michaei E, Ba|dner

Subscribed and sworn before me today
Wednesday, Apri| 28, 2010

 
   
 

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P.O_ Box 1224 \. //4, f "/ JL`/WC '

Boise, |D, 83701 Noiary Pub|ic for the ate oftdaho
(203) 344-4132 _' _ Resrding aiNampa€ ana

My Cornmission Ex ' es on March 7th, 2014

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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 32 of 78

EXHIBIT 5

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Michael l€, Baldncr, ISB #5104
Jason G. Dykstra, iSB #6662
MEULEMAN MOLLERUP LLP
755 W. i"ront Street, Suite 200
Boisc1 Idaho 33702

(208) 342~6066 'l`eleplion_e
(208) 336-9712 I"`acsimile

dykstra@lawidaho,com
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Attorneys for l’iaintif`f Western Benetit Solutions, LI.,C
IN THE DISTRICT COURT OF TIIE FOURTII JUDICIAL DISTRICT
Ol" ']"HE S'l`A”l"i_`i OF iDAHO, l`N AND FOR 'l`HE C()UNTY ()F ADA

WIES'I`ERN BENEFIT SOLUTIONS, LLC,

an Idaho limited liability company, Case No. CV OC 1008362
i’laintiff, NOTICR OF HEARING ON
APPLICATI()N I<"OR PRELIMINARY
v. INJUNCTlON

J()I'iN GUS'}"lN, an individual, and
MORETON INSURANCE OF IDAHO,
INC., an idaho Corporation d!b)’a MORETON
& COMPANY,

Dcf`endants.

 

 

TO: ALL PARTIES

NO’{`!CE IS HEREBY GIVEN, pursuant to Rule 65(a)(l) of the idaho Rules ot` Civil
Procedure, that Piaintit`f Western Benefit Solutions, LLC, by and through its counsel of record,
Meuleman Mollerup LLI’, will call its Applicationjor Pret'fminary Injnnction for hearing before the
Honorable Judge Timothy Hansen on May 17, 2010, at 2230 p.m. at the Ada County Courthouse in

Boise, ldaho.

NOTICE Ol<` HEARING ON APPL]CATION FOR PRELIMINARY INJUNCTION - Page l

Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 34 of 78

DA'I`E|) this 29th day of April 20 i 0.

    
  

MF.ULEMAN MOI.,I,ERUP LLI

F.iason Cr. Dykstra///"'
Attomeys for Piaintiff

 

CERTIFICATE OF SERVICE

I l‘lEREBY CERTIFY that on the 29th day of Aprii 2010, a true and Col“rect copy of the
foregoing document was served by the method indicated beiow to the following parties:

  
 

John Gustin /,'baf U.S. Mail
Moreton & Company \:i l-land Delivered
12639 Wcst Expiorcr Drivc, Ste. 100 13 Overnight Maii
Boisc, ID 832!3 l:i Facsimile:
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Moreton lnsurance ofldaho, lnc. ¢QL'_U.S. Mail

cfo Allan M. Ranstrom, Registered Agcnt t`_t Hand Delivered
I\/Iorcton & Colnpany \:l Overnight Mail
12639 West Explorer Drive, Ste. 100 l:i Facsimile:

Boise, ID 83713
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’%f]ason G. Dykstra'»"/"'

NOTICE OF HEARING DN APPLICATION FOR PRELIMINARY INJUNCTION - Page 2

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EXHIBIT 6

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Case 1:11-0v-000992£jL-CWD Document1-2 Filed 03/

 

lN THE DlSTR|CT COURT OF THE FOURTH JUD|ClAL DlSTRlCT OF
THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

Western Benefit So|utions LLC . .
’ P| ff 1
a'““ (s) AFFlevlT oF sEthcE
VS_
Case Number: C\/ OC 1008362

Jonn susan er at Defe“d""‘($)"

For:

Meu|eman Niolterup LLP
755 W_ Front Sti, Ste, 200
Boise, 10 83702

STATE OF lDAHO ]
fSS
COUNTY OF ADA )

Received by TRl-COUNTY PROCESS SERVING LLC on Apri127, 2010 to be served on MORETON
|NSURANCE OF IDAHO, iNC., DfoA MORETON & CON|PANY,

|, Antonio Roque, who being duly sworn, depose and say that on Thnrsday. Apri| 29, 2010, at 8:58 AM, |:

SERVED the within named Moreton |nsurance of |daho, Inc., dfbfa Moreton & Company by
delivering a true copy of the Summons, Verified Comp|aint, Application for Temporary Restraining
Order, and Application for Pre|iminary Injunction to Harvey Knol|, President. a person authorized to
accept service on behalf of Moreton |nsurance of |daho, |nc., d!b!a Moreton & Cornpany, Said service
was effected at 12639 W. Explorer Dr., Ste. 200, Boise, ID 83713.

| hereby acknowfedge that l arn a Process Server in the county in which service was effected l am over
the age of Eighteen years and not a party to the actionl

Our Reference Number: 94733 ‘\`
client Reference; Michaei s satdner \

Subscribed and sworn before me today
Thursday, April 29, 2010

 

 

 

 

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_/' (208) 3444132 ' Residin`g at Namp l aho

\)_ ' My Cornmission E p es on March 7th 2014

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EXHIBIT 7

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Case 1:11-cv-00099-E.]L-CWD Document 1-2

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Jason D. Scott, iSB No. 5615

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Attorncys for Defendant Moreton Insurancc of` Idaho, Inc.

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRIC'I`

OF THE S'I`ATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

WESTERN BENEFIT SOLUTIONS, LLC, an
Idaho limited liability company,

Piaintiff`,
vs.

MORETON INSURANCE OF IDAHO, INC.,
an Idaho corporation dfb/‘a! MORETON &

COMPANY.

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JOHN GUSTIN, an individuai, and )
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Defendants. )
)

 

Case No. CV OC 1008362
NOTICE OF APPEARANCE

Fee Category: 1.1
Fee: $58.00

PLEASE TAKE NOTICE that Hawiey Troxell Ennis & Hawley LLP, 8?? Main Street,

Suite 1000, P.O. Box 1617, Boise, fdaho, 83701-1617 appears as counsel of record for

Defendant Moreton Insurance of fdaho, inc. dfb!a Moreton & Company.

NOTICE OF APPEARANCE - 1

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nih
DATED THIS day of May, 201 o_

HAWLEY TROXELL ENNIS & HAWLEY LLP

ry twa gm

J%on D. Scott

 

Attomeys for Def`endant Moreton insurance of
ldaho, lnc.

NO'I`ICE OF APPEARANCE ~ 2

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CERTIF`ICATE o`F sER\/I`CE

\.L.
l HEREBY CERT!FY that on this l day of May, 2010, I caused to be served a true
copy of the foregoing NOTICE OF APPEARANCE by the method indicated below, and
addressed to each of the following

Michael E. Baldner w
.I ason G. Dykslra

MEULEMAN MOLLERUP LLP

?75 W_ Front Street, Sui!e 200

Boise, ID 33702 X

U.S. Mail, Postage Prepaid
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Jaso . Scott

NO'I`ICE OF APPEARANCE - 3

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EXHIBIT 8

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Jason D. Scott, ISB No. 5615

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jscott@hawie:ytroxell.com

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By.l H;‘\Nt')a:_l.
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Attorneys for Defendant Moreton Insurance of Idaho, Inc.

IN THE DISTRICT COURT OF THE FOURTH IUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

WESTERN BENEFIT SOLUTIONS, LLC, an

ldaho limited liability company,

Plaintiff,
vs,

JOHN GUSTIN, an individual, and

MORETON INSURANCE OF IDAHO, INC.,
an Idaho corporation djb!a! MORETON &

COMPANY.

De:fendants.

Case No. CV OC 1008362

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) DEFENDANT MORETON INSURANCE
) oF IDAHO, INC.'S MEMORANDUM lN
) oPPOSITIoN To PLAINTIFF’S

) APPLICATION FoR PRELNINARY

) INJUNCTION

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Pursuant to i.R.C.P. 7(b)(3), Defendant Moreton insurance of Idaho, fnc. dfb;’a Moreton
& Company (“Moreton Insurance”) submits this memorandum in opposition to the Application
for Preliminary lnjunction filed by Plaintiff Westem Beneiit Solutions, LLC ("WBS”).

I.
INTRODUCTION

Defendant John Gustin (“Gustin”), an insurance agent, used to work for WBS. He
believed WBS was treating him unfairly, so he decided to leave. Before leaving, he openly
disclosed to WBS his intention to leave. WBS soon terminated Gustin, however, based on a
false charge that he had gathered WBS confidential information to take with him.

After the termination, Gustinjoined Moreton lnsurance. Moreton Insurance is not aware
of any reason to believe Gustin violated WBS’s rights in making the transition Gustin has not
provided any WBS confidential information to Moreton Insurance. He has not solicited any
WBS customers on behalf of Moreton Insurance. i-Ie has not solicited any WBS employees to
join Moreton Insurance. WBS’s claims to the contrary are unfounded There are no grounds for
entering a preliminary injunction against either Gustin or Moreton Insurance.

II.
BACKGROUND

WBS’s business is selling employment-benefit lines of insurance coverage (J. Gustin
Aff. 11 18.) Gustin began working for WBS on January 28, 2002. (Id. 1}2.) At that time, WBS
had two owners: Ron Osborne and Ron Kennedy. (Id. 11 3.) They recently parted ways, with
Kennedy leaving WBS. (Ia'.) Kennedy’s departure, coupled with Gustin’s belief that WBS was

treating him unfairly, made Gustin also decide to leave. (Id.) Before leaving, Gustin notified

DEFENDANT MORETON INSURANCE OF IDAHO, INC.’S
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-- Osborne-in-mid~March -2010-of'his -intentions:' {.!d."li'¢l:) ~Gustin wanted to stay tor-a'brief'period'-
after that because some of his accounts were due for renewal, and he wanted to personally ensure
that the renewals were handled properly. (Id.)

Gustin assisted WBS, at Osborne’s request, in attempting to transition Gustin’s accounts
to other producers at WBS, (Id.) Osbome instructed Gustin to prepare a list of the accounts that
Gustin believed would leave WBS after Gustin lefl, even though Gustin was helping WBS try to
transition them to other WBS producers (Id. 1| 5.) Gustin prepared a list (but did not keep a
copy of it). (!d.) He and Osborne began discussing Gustin purchasing those accounts from
WBS. (Id. 1[1[ 5-6.)

Before any purchase agreement was reached, WBS abruptly terminated its relationship
with Gustin effectively immediately on April 6, 2010. (Id. ‘|| 8,) By that time, Gustin already
had returned to WBS any hard copies of WBS materials that he was able to locate at his home.
(Ia’. ‘|| 10.) Nevertheless, Osborne accused Gustin of e~mailing WBS proprietary materials nom
his WBS account to his horne account (Id.) 'l`he day before, Gustin indeed had sent e-rnails
from his WBS account to his home account, but they contained nothing proprietary to WBS, (!d.
‘{[ 7.) lnstead, the e-mails contained Gustin’s personal items, such as family photos, a church
directory, a few jokes, and a spreadsheet of the expenses from his cabin. (t'a’. 11 7 & Exs. A-M.)
Gustin sent the e~mails back to OSborne to clear his name (r'd. 1[ 9), but Osborne evidently chose
not to reevaluate his baseless charges Gustin kept no WBS proprietary materials (Id. 1| 10.)

The termination was wrongful and in violation of Gustin’s rights under an Agreement
dated April 10, 2009 (“Agreement”) between himself and WBS. (Verif. Compl. Ex. A.) WBS

had forced Gustin to sign the Agreement after he had been employed by WBS for several years,

DEFENDANT MORETON lNSURANCE OF IDAHO, lNC.’S
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using threats of termination and threats to withhold compensation that Gustin already had earned
(.I. Gustin Aff. 11 19.) Under Seetion 12 ofthe Agreement, Gustin was entitled to 15 days’ notice
prior to termination, but WBS gave him none. ({d. 11 ll.) WBS also is in violation of Section 2
of the Agreement at this time, as it has refused to pay Gustin bonuses and retirement benefits to
which he is entitled under agreed compensation terms (Id. 11 20.)

The day after being wrongfully terminated by WBS, Gustin began working for Moreton
insurance (]d. 11 12.) Gustin has not disclosed any WBS proprietary information to Moreton
lnsurance, nor has he used any for Moreton I.nsurance’s benefit. (Ia‘. 11 15.) ln addition, he has
not directly or indirectly solicited, marketed, or provided services for any customer or client with
which he had a relationship while at WBS, (Id. 11 16.)

One such client, however, did contact Gustin. That client is Fast Enterprises, LLC
(“Fast"), whose employee Beth Schattin e-rnailed Gustin on April 8, 2010, to express surprise
that Gustin was no longer with WBS and to state her desire to continue Fast’s relationship with
Gustin (!a’. 11 17.) Gustin replied that he has a non-competition agreement (actually, he has a
non-solicitation agreement) with WBS and intends to honor it. (Ia’.) Fast already had been doing
business with another Moreton lnsurance agent, Gustin’s brother Cody, because WBS’s
offerings are not broad enough to meet all of Fast’s insurance needs. (Ia’. 11 18; C. Gustin Aff.

11 2.) Fast elected to transition its former WBS business to Gustin’s brother, without Gustin’s
involvement or assistance (J. Gustin Aff. 1118; C. Gustin At`f, 1111 3~4,)

About two weeks after Gustin joined Moreton lnsurance, a very recent WBS hire named

Tamie Cooper also left WBS to join Moreton lnsurance. (Id. 11 12.) Cooper’s job is to support a

producer; She is not a producer herself (Cooper At`f. 11 l, 3.) Gustin had not even worked with

DEFENDANT MORETON INSURANCE OF IDAHO, [NC.’S
MEMORANDUM IN OPPOSITION TO PLAI`NT}.'FF’S APPLICATION
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Cooper at--W-BS--and did-net~solicit-Cooper»to leave-WBS.-- (€ooper-Aff.-H~S,- 6; J. Gustin Atff:----" ~ ~
11 14,) He had no involvement in her decision to leave WBS for Moreton I_nsurance. (fa‘. 1111 5-6;
J. Gustin Al`f. 111| 12-14.) Alter only one month with WBS, Cooper left because she simply did
not like working there. (Cooper Aff. 1111 2-3, 6.) She had sought ajob with Moreton lnsurance
shortly before joining WBS. (Id. 11 2.) After realizing that joining WBS was a mistake, she
decided to lind out if Moreton lnsurance was still hiring (Ia'. 1111 3~4.) Cooper chose Moreton
Insurance’s offer over another offer from Arneriben; had she not left WBS for Moreton
Insurance, she would have left for Ameriben. (Cooper Aff. 11 6.)

WBS sued Gustin and Moreton lnsurance on April 27, 2010. As its First Cause of
Action, WBS claims that Gustin, in breach of the Agreement, (i) retained and/or disclosed to
Moreton lnsurance unspecified WBS proprietary infonnation, (ii) solicited business from
unspecified WBS customers (presumably, Fast) on behalf of Moreton lnsurance, and (iii)
solicited Cooper to work for Moreton insurance (Verif. Compl.1111 13-25.) As its Second and
Third Causes of Action, WBS claims that Gustin and Moreton lnsurance tortiously interfered
with its contracts and customer relationship with Fast. (Ia’. 1111 26-37.) Based on those claims,
WBS asserts a Fourth Cause of Action, in which it seeks injunctive relief. (Id. 1111 38-49.)

Worthy of note for present purposes, WBS seeks a preliminary injunction prohibiting
"Gustin and Moreton from directly or indirectly soliciting, marketing to, or providing services
for customers or clients that Gustin interacted with while an employee of WBS.” (l'd. at 10.)

WBS fails, however, to demonstrate its entitlement to that relief.

DEFENDANT MORETON INSURANCE OF IDAHO, INC.’S
MEMORANDUM IN OPPOSI'I`ION TO PLA[NTTFF’S APPLICATION
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IH.
ANALYSIS
Prelirninary injunctions are not favored in Idaho. They can be granted “only in extreme
cases where 111 the right is very clear and 121 it appears that irreparable injury will flow from its
rel`usal.” Bmdy v. Cin ofHomedo!e, 130 Idaho 569, 572, 944 P.Zd 704, 707 (1997) (citationS
omitted). As the plaintiff, WBS bears the burden of proving that those two requirements are
satisfied. See Harri`s v. Cnssr'a County, l06 Idaho 51 3, 513, 681 P.Zd 988, 993 (1984).
A. WBS fails to demonstrate a “very clear” right to a preliminary injunction
To show a “very clear” right to a preliminary injunction, WBS must demonstrate a
"substantiai likelihood of success” on the merits. Harrz`s, 106 Idaho at 518, 681 P.Zd at 993. No
such showing can be made, however, “where complex issues of law or fact exist which are not
fi'ee from doubt,” Id, WBS’s evidence, which is limited to the contents of its verified complaint,
fails to show the requisite “substantial likelihood of success.” That is particularly so in light of
the opposing evidence submitted by Gustin and Moreton lnsurance, which creates grave doubts
about WBS’s claims.
l_. The Aareement’s customer non~solicitation clause is too broad to be enforced.
The Agreenient provides as follows:
Upon termination of employment hereunder, [Gustin] agrees that
for a period of eighteen (13) months following such termination,
IGustinj will not directly or indirectly solicit, market or provide
services for any customer or client that [Gustin] established,
developed, Ser’viced, had a relationship with, or nurtured during the
term of hisdier Employment at WBS.

(Verif. Compl. Ex. A § 8.) This clause is not enforceable because it is unreasonably broad in

scope. lts scope is unreasonably broad in that Gustin purportedly is barred from doing business

DEFENDANT MORETON INSURANCE OF lDAHO, INC.’S '
MEMORANDUM IN OPPOSITION TO PLA[N'I`H~`F’S APPLICAT[ON
FOR PRELIMINARY INIUNCTION » 5

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of any kind with customers with which he had a relationship while at -WBS, even if-that-business -
does n__ot involve insurance products in competition with those offered by WBS. The clause
therefore precludes business associations between Gustin and WBS customers that have nothing
to do with WBS’s legitimate business interests

I_n that regard, it is important to note that Moreton lnsurance offers full lines of insurance
coverage (J. Gustin Aff. 1[ 13.) By contrast, WBS only offers employment-benefit lines of
coverage. (Id.) Moreton lnsurance’s product offerings are simply broader than WBS’s. It is
improper for WBS to attempt to preclude Gustin, and by extension Moreton Insurance, from
having a business relationship of any kind with WBS customers following his termination
WBS’s legitimate business interests do not extend so far See Idaho Code § 44~2?01 (“A key
employee or key independent contractor may enter into a written agreement or covenant that . . .
prohibits the key employee or key independent contractor from engaging in employment or a line
of business that is in direct competition with the employer’s business . . . .”); see also Idaho Code
§ 44~2?04(4) (“lt shall be a rebuttable presumption that an agreement or covenant is reasonable
as to type of employment or line of business ifit is limited to the type of employment or line of
business conducted by the key employee or key independent contractor while working for the
employer.”). WBS’s decision to force Gustin to sign such an overly broad restriction on his
post~employment activities violates these ldaho statutes It leaves WBS with an unenforceable
customer non-solicitation provision in which it has no rights at all. That is the just consequence
of its overreaching

lndeed, the Idaho Supreme Court’s approach to evaluating a non-solicitation clause is to

“detennine whether or not the clause is no more restrictive than necessary to protect the

DEFENDANT MORETON INSURANCE OF lDAHO, INC.’S
MEMORANDUM IN OPPOSITION TO PLAINTIFF’S APPLICATION
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employer’s legitimate business interests.” Fret`burger v. J-U-H'Engineers, Inc., l4'l idaho 41 51 --
420, l l l P.3d l{`}{}, 105 (2005). lt is WBS’s burden, as the employer, to prove the extent ofits
legitimate business interests See id. This clause plainly is more restrictive than necessary to
protect WBS’s legitimate business interests; WBS has no legitimate need to preclude Gustin
from doing business with WBS customers when that business is not in direct competition with
WBS. See id. at 422, l l l P.3d at 10';' (“[T]he Covenant at issue unreasonably prohibits
Freiburger from providing any services to J-U~B’s clients, current, past, or pendingl We note
that nothing in the Covenant limits the scope of activities Freiburger is prohibited from
offering."); see also P:`nnac!e Peij"ormance, Inc. v_ Hessr`ng, 135 ldaho 364, 368-69, l? P.3cl 308,
312-13 (Ct. App. 2001). (“[T]he covenant not to compete prohibited Hessing from providing any
service to Pinnacle’s clients, current and past, after the termination of employment Because the
term ‘services’ is not expressly defined in the covenant not to compete, it fails to limit the scope
of activities that Hessing is prohibited from offering, selling, or trading A covenant not to
compete which prohibits an employee from working in any capacity or which fails to specify
with particularity the activities that the employee is prohibited from performing is too overbroad
and indefinite to be considered reasonable.”).

Not only is the clause unenforceable as written, but also it cannot bejudicially modified
to render it narrower in scope and therefore enforceable Such “blue-penciling” will not be done
when adding words to a clause is necessary to make it enforceable Fretburger, 141 Idaho at
423, l 11 P.3d at 108. Here, words would have to be added to limit the scope ofthe clause so
that it does not restrict Gustin’s activities beyond what is necessary to protect WBS’s legitimate

business interests

DEFENDANT MORETON INSURANCE OF IDAHO, [NC.’S
MEMORANDUM IN OPPOSITION TO PLAINTIFF’S APPLICATION
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- Because the clause is not enforceable as written, and cannot be judicially modified,-it - -
cannot be enforced at all. At a minimum, whether the clause can be enforced against Gustin is
“not free from doubt,” making a preliminary injunction inappropriate Harrt`s, 106 Idaho at 518,
681 P.Zd at 993.

g WBS’s breaches of the Agreement excused Gustin’s obligation to perform

Based on a false charge that Gustin had misappropriated WBS proprietary infomtation,
WBS terminated Gustin effective immediately on April 6, 2010, in violation of Gustin’s right
under Section 12 of the Agreement to 15 days’ notice prior to termination (J. Gustin Aff, ‘|I ll;
Verif Compl. Ex. A § 12.) Further, WBS terminated Gustin without paying him bonuses and
retirement benefits to which he is entitled under the terms of his employment, in breach of
Section 2 ofthe Agreement. (J. Gustin Aff. 11 il; VerifCompl. Ex. A § 2.) WBS’s application
for a preliminary injunction is premised on alleged violations of the Agreement by Gustin. But
the violations committed by WBS preclude WBS from enforcing the Agreement against Gustin.

When one party materially breaches an agreement, the other party’s performance is
excused E.g., J.P. Stravens Ffanm`ng A.s'socs., Inc. v. Ci'ty of Wol£ace, 129 ldaho 542, 545, 928
P.Zd 46, 49 (Ct. App. 1996). “A substantial or material breach of contract is one which touches
the fundamental purpose of the contract and defeats the object of the parties in entering into the
contract.” fd. (quotation marks omitted). Whether a breach is material is a question of fact. Id.
Gustin’s right to receive all agreed employment compensation, as well as his right to prior notice
of termination, undoubtedly were fundamental to his willingness to maintain the employment

relationship WBS’s violations of those rights therefore are material breaches of contract

DEFENDANT MORETON INSURANCE OF [DAHO, INC.’S
MEMORANDUM lN OPPOSITION TO PLAIN'I`IFF’S APPLICATION
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At a minimum-,- there is a question-offset as to whether -WBS’s-breaches of the - -
Agreement are material That question of fact means that WBS’s right to enforce the Agreement
against Gustin is “not free from doubt.” Harrt`s, 106 Idaho at 518, 681 P.2d at 993. A
preliminary injunction therefore is not available to WBS.

§ Even if` W'BS had not lost the right to enforce the Agreement, Gustin has not
breached it and Moreton lnsurance has not committed the tort of interference

A preliminary injunction is only a remedy, not a cause of action, WBS calls its request
for injunctive relief its “Fourth Cause of Action” (Verif. Compl. at 6), but in actuality it is no
more than a request for a remedy in connection its substantive causes of action, which are for
breach of contract and tortious interference See, e.g., Alabamo v. Uut'ted Stares Army Corps of
Engi`neers, 424 F.3d lll?, l 12? (l lth Cir. 2005) (“[A]ny motion or suit for either a preliminary
or permanent injunction must be based upon a cause of action, such as a constitutional violation,
a trespass, or a nuisance There is no such thing as a suit for a traditional injunction in the
abstract.”). Thus, no preliminary injunction possibly could be entered against either Gustin or
Moreton lnsurance unless WBS shows a “substantial likelihood of success” on its claims for
breach of contract and tortious interference

Beginning with WBS’s claim against Gustin for breach of the Agreement, WBS first
claims that Gustin improperly disclosed WBS proprietary information to Moreton lnsurance
andfor retained it for himself (Verif. Compl. 1[1[ 18, 22.) WBS fails, however, to identify any
such information with specificity Gustin in fact did not disclose any WBS proprietary
information to Moreton lnsurance (l. Gustin Aff. 11 15.) While WBS terminated him for
supposedly e-mailing WBS proprietary information to his home account, Gustin actually only

e-mailed horne some personal items, like pictures, jokes, and personal tax information (Id. 11 7

DEFENDAN`T MORETON INSURANCE OF lDAHO, INC.’S
MEMORANDUM lN OPPOSITION TO PLAlNT[FF’S APPLICA'I`ION
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&' E'xs, 'A-M.) Given the complete failure of proof, this particular breach allegation cannot-
support a preliminary injunction

WBS next claims that Gustin breached the Agreement by soliciting WBS customers on
behalf of Moreton I.nsurance. (Verif. Compi. 11 20.) That claim centers on Fast, which already
was doing business with Moreton lnsurance before Gustin left WBS, but which thereafter moved
its employeesbeneflts insurance business from WBS to Moreton lnsurancel As noted above, the
Agreement’s customer non-solicitation clause is unenforceable, so WBS’s claim that Gustin
violated it is irrelevant. Regardless, WBS offers no evidence to support its conclusion that
Gustin solicited Fast to move its business to Moreton lnsurance, or that Gustin is servicing Fast
on behalf of Moreton lnsurance. ln fact, Gustin’s brother Cody, who had the preexisting
relationship with Fast, obtained Fast’s employee-benefits insurance business without Gustin’s
help. (J. Gustin Aff. ll 18; C. Gustin Aff. 1111 113.) Gustin merely responded to a Fast inquiry by
noting his inability to help because of contractual obligations to WBS. (J. Gustin Aff. 11 17.)
Again, the evidence does not support a breach of the Agreement.

Finally, WBS claims that Gustin breached the Agreement by soliciting Cooper to leave
WBS for Moreton lnsurance (Verif. Compl. 123.) 'I'hat claim suffers at least three fatal flaws
First, Gustin did not actually solicit Cooper to leave WBS; she fell of her own accord, without
Gustin’s involvement (J. Gustin Aff. 111 12-14; Cooper Aff. 1{’1} 1-6.) Second, Cooper would
have left WBS for Arneriben, from which she also had a job offer, had she not left for Moreton
lnsurance. (Cooper Aff. 11 6.) Third, the Agreement bars Gustin from soliciting “WBS’s Key
Employees” (Verif. Compl. Ex_ A § 9), but there is no evidence Cooper was a “Key Employee.”

The Agreernent defines “Key Employee” as Gustin himsele (Verif. Compl. Ex. A at l.) It

DEFENDANT MORE'I`ON INSURANCE OF IDAHO, INC.’S
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nowhere explains who-all of WBS’s-other “Key Ernployees” are, and it gives no indication that
non-producers like Cooper constitute WBS’s “Key Employees.” Moreover, there is no evidence
that Cooper meets the statutory definition of “key employee,” such that WBS could have bound
her under ldaho law to a “key employee” agreement similar to the one Gustin signed. See ldaho
Code § 44-2702(1), -2704(5). The Agreement cannot fairly be interpreted to require Gustin to
refrain from soliciting Cooper, although he in fact did so refrain. Thus, WBS cannot prove any
violation of the Agreement in regard to Cooper’s transition to Moreton lnsurance.

In sum, WBS fails to substantiate any claim that Gustin breached the Agreernent. Its
First Cause of Action therefore cannot serve as the foundation for a preliminary injunction

The absence of proof the Agreement was breached also means that WBS’s Second and
Third Causes of Action will not support a preliminary injunction Those claims accuse Gustin
and Moreton lnsurance of tortiously interfering with WBS’s contracts and relationships with
Fast. Moreton lnsurance, of course, has every right to compete with WBS for the business of
WBS’s customers, including Fast. E.g., Frei‘barger, 141 ldaho at 420, 111 P.3d at 105 ("[A]n
employer is not entitled to protection against ordinary competition.”). Competition by Moreton
lnsurance is tortious only if it is “wrongful by some measure beyond the fact of the interference
itself (:'.e. that the defendant interfered for an improper purpose or improper means).” Hi‘gkz'and
Enrers., Inc. v. Barker, 133 ldaho 330, 33 8, 986 P.2d 996, 1004 (1999). WBS does not allege
any wrongful act by Moreton lnsurance, beyond its alleged complicity in Gustin’s alleged
breaches of the Agreement, Because it cannot prove that any such breaches occurred, or that
Moreton lnsurance was complicit in them, it cannot show a “substantial likelihood of success”

with regard to its tortious interference claims, No preliminary injunction is warranted

DEPENDANT MORETON INSURANCE OF IDAHO, INC.’S
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B. A theoretical possibility that Gustin may breach the Agreement fails to establish
irreparable injury.

ln addition to a substantial likelihood of success on the merits, WBS also must show that
a preliminary injunction is needed to avoid irreparable injury. The mere theoretical possibility
that WBS’s rights under the Agreement might be violated is not enough to satisfy that
requirement lnstead, there must be “a real danger that the act complained of actually will take
place.” l lA Charles A. Wright et al., Fedeml Pmcti`ce & Procedure § 2942 (Zd ed. 1995); see
also Connecn'cut v. Massachuserts, 282 U.S. 660, 674 (1931) (“[An] [i]njunction issues to
prevent existing or presently threatened injuriesl One will not be granted against something
merely feared as liable to occur at some indefinite time in the future.”).

A preliminary injunction is not proper here because there is no concrete evidence that
Gustin has breached, or threatens to breach, the Agreement, or that Moreton lnsurance has done,
or threatens to do, some act in violation of WBS’s rights in its customer relationships The mere
fact that WBS may have rights under the Agreement, or rights in its customer relationships, is
not enough to support an injunction An actual or threatened breach of those rights is an
essential prerequisite to an injunction, but is missing here.

Further, the scope of the injunction WBS seeks is broader than necessary WBS seeks to
enjoin “Gustin and Moreton from directly or indirectly soliciting, marketing to, or providing
services for customers or clients that Gustin interacted with while an employee of WBS.” (Verif.
Compl. at 10.) Even if there were grounds for entering some sort of injunction, there clearly are
no grounds for enjoining Moreton lnsurance from (i) selling to WBS customers insurance
products that are not in direct competition with those offered by WBS, and (ii) servicing WBS

customers through producers other than Gustin.

DEFENDANT MORETON INSURANCE OF IDAHO, lNC.’S
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C. A preliminary injunction must be conditioned on WBS posting a substantial bond.

For the reasons explained above, WBS is not entitled to a preliminary injunction None
should be entered If the Court disagrees, however, WBS must be required to post a bond for
Moreton lnsurance’s protection in connection with receiving a preliminary injunction The rules
contain a mandatory bond requirement “No restraining order or preliminary injunction shall
issue except upon the giving of security by the applicantt in such sum as the court deems proper,
for the payment of such costs and damages including reasonable attorney’s fees to be fixed by
the court, as may be incurred or suffered by any party who is found to have been wrongfully
enjoined or restrained.” I.R.C.P. 65(c) (emphasis added). Thus, the bond amount must be large
enough to cover the damages Moreton lnsurance would suffer if a preliminary injunction is
entered and later proves to have been wrongful

WBS seeks to enjoin “Gustin and Moreton from directly or indirectly soliciting,
marketing to, or providing services for customers or clients that Gustin interacted with while an
employee of WBS.” (Verif. Compl. at lO.) If, during the indeterminate period between now and
trial, Moreton lnsurance were enjoined from doing business with all such WBS customers, it
would lose a substantial amount of business One example is Fast, with which Moreton
lnsurance already had a preexisting relationship, and to which it had sold insurance products
different in kind from those available through WBS. (Other examples are described in the
accompanying Affidavit of Cody Gustin.) The profits Moreton lnsurance unjustly would lose if
the requested injunction is entered are damages against which the required bond must provide

protection

DEFENDANT MORE'I`ON INSURANCE OF IDAHO, INC.’S
MEMORANDUM IN OPPOSITION TO PLAIN'I`[FF’S APPLICA'I`ION
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' " "Additionally, l.R.C.P'. 65(c) allows the enjoined party to recover the costs and attorney ' ' ' " ' ' '

fees incurred in dissolving a preliminary injunction at trial. Devine v, Cligj', 110 ldaho 1, 4 , ?13
P.Zd 437, 440 (Ct. App. 1985)', see also Durront‘ v, Chrisrensen, 117 ldaho 70, '?‘3, 785 P.2d 634,
637 (1990). Accordingly, the bond amount should be designed not only to cover potential lost
profits, but also the costs and attorney fees Moreton lnsurance will incur in attempting to undo
the preliminary injunction at trial.

On that basis, Moreton lnsurance requests a bond of at least $100,000.

IV.
CONCLUSION

WBS’s application for a preliminary injunction must be denied WBS cannot establish
that Gustin breached the Agreement. Because proof of such a breach is essential to WBS’s
claims that Moreton insurance committed tortious interference, its absence necessarily means
that WBS has failed to prove tortious interference Because there is no proof of tortious
interference, WBS fails to show a likelihood of success on the merits against Moreton Insurance.

lt is not entitled to a preliminary injunction

DATBDTHIS l° day arMay, 2010.

HAWLEY TROXELL ENNIS & HAWLEY LLP

B,, I\MLQ.CZM

Jas%i D. Scott

Attomeys for Defendant Moreton lnsurance of
Idaho, lnc.

DEFENDANT MORETON INSURANCE OF lDAHO, INC.’S
MEMORANDUM IN OPPOSlTION TO PLAINTIFF’S APPLICATION
FOR PRELIMINARY lNIUNCTION - 14

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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 58 of 78

CERTIFICATE OF SERVICE ' '

l HEREBY CERTIFY that on this Lo_&day of May, 2010, I caused to be served a true
copy of the foregoing DEFENDANT MORETON INSURANCE OF IDAHO, TNC.’S
MEMORANDU`M IN OPPOSITION TO PLAINTIFF’S APPLICATION FOR PRELIMINARY
INJUNC'I`ION by the method indicated below, and addressed to each of the following:

Michael E. Baldner U.S. Mail, Postage Prepaid
J`ason G. Dylcstra K Hand Delivered
MEULEMAN MOLLERUP LLP Overnight Mail

775 W. Front Street, Suite 200 E»mail

Boise, ID 83?02 Telecopy

Robert B. White U.S. Mail, Postage Prepaid
GIVENS PURSLEY LLP g Hand Delivered

601 W. Bannock Street Overnight Maii

P.O. Box 2720 E-mail

Boise, ID 83?01-2720 Telecopy

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Jasor@. Scott v

DEFENDANT MORETON INSURANCE OF IDAHO, INC.’S
MEMORANDUM IN OPPOSI'I`ION TO PLAINTIFF’S APPLICATION
FOR PRELIMINARY INJUNCTION - 15

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EXHIBIT 9

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Brad P. Miller, ISB No. 3630

HAWI.F.Y TR.OXELL ENNIS & IIAWLEY LLP
8?7 Main Strcct, Suitc 1000

P.O. Box 1617

Boisc, lD 83701-1617

Telephone: 208.344.6000

Facsimile: 208.954.5240

Email: bmillcr@hawleytroxell.com

Attorncys for Dcfendant MORETON lNSURANCIE
OF IDAHO, INC., d./bfa MOR-HTON &
COMPANY

lN THE DIS'I`RTCT COUR'[` Ol"` THF. FOURTI-l JUDICIAL DlSTRlCT

OF THE STATE OF lDAI IO, iN AND l"OR `I`I-[l~l COUNTY OF ADA

WESTF.RN BENEFIT SoLUTtONs, LLc, an)

ldaho limited liability company,, ) case No. cv oc 1003362
)
)

Plaintiff, AFFIDAVIT OF TAMIE COOPER

)
vs. )

)
.fOllN (iUS'l`lN, an individual. and )
M()RE'I'ON lNSURANCE OF IDAHO. INC.. )
an ldaho corporation. dfbla MOR E'f(}N & )
coMPANY. §

Dcfcndants.

 

l, Tamie Coopcr, being first duly sworn under oath, deposes and says:
1. 1 am currently employed by Moreton lnsurance of ldaho, Inc. (“Moreton") as an
account manager and was formally employed by Western Bcneiit So]ulions, I_,l.C ("WRS“) as a

benefits specialistl l provide administrative support to producers as an account manager and

AF'FIDAVIT OF `['AMLE COOPER - l

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provided similar administrative support as a benefits specialist I make this Affldavit upon my
own personal knowledge

2. ln thc late winter or early spring of this year l was looking for employment I was
actively interviewing with Amcribcn and WI?»Sf At the same time, l had also been contacted by
Moreton concerning setting up an interview for an open position with that agency
Representatives of Moreton were not able to intendcw me for one week as they were going to be
out ot` state During that same week. l received and accepted a job offer from WBS, 1
commenced my employment with WBS on or about March 15, 2010, My last day ol` work with
WBS was on or about April 15, 2010.

3. Aftcr accepting a position with WBS, 1 was dissatisfied The producer with
whom l was paired was not a good fit. I did not work for or with Jolm Gustin at WBS. 1
approached Ron Osborne, the owner of WBS, told him lwas dissatisfied and l did not think l
was a good fit with the producer to whom 1 had been assigned llc asked if l would be willing lo
work for a new producer who had very few accounts l knew that would mean that l would have
very little work to do and would be dissatisfied Accordingly, l commenced looking for other
employment

4, l made contact with Moreton to see if there was still a position available l also
re~interviewed with Ameriben. 1 received job offers from both Arneriben and Moreton_

5. l met again with Ron Osboroc of WBS and told him l would be leaving to go to
either Moreton or Arncribcn. llc told me that if 1 left to go to Moreton l had to tell him because
he was placing restrictions on John Gustin. I told Ron Osborne that my leaving WBS had

nothing whatsoever to do with John Gustin.

AFFlDAVlT OF TAMlE COOPE`.R - 2

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ti. John Gustin did not directly or indirectly solicit me to leave WBS or to join
Moreton l Ieit WBS because l was dissatisfied with thc position l had there Had l not accepted

the position with Moreton, l would have accepted the position offered by Amen`ben.

UaMO_qM

'l’arnie Cooper

l*`urther your affiant sayeth naught

STATI~: or mario )
) ss.
County of Ada )

sonschBEt) AND sWORN terms me this _!_E_H day ormay, 2010.

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¢`mco'£*n 2 l 621 52 ,

& *¢:0;“\* Name: "T;'/Vf? COb§'/h#t)
!» Notary Public f ldaho
Residing at BQ'W , "'Lé?/J

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AFFIT)AVIT OF TAM]E COOPF,R - 3

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Case 1:11-Cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 63 of 78

CERTIFICATE OF SE-RVICE

l HEREBY CERTIFY that on this

T
10 "" day of May, 2010, I caused to be served a true

copy of the foregoing AFFIDAVIT OF TAMIE COOPER by the method indicated beiow, and

addressed to each of the l`ollowing:

Michael E. Baidncr

Jason G. Dykstra

MEULEMAN MOLLERUP LLP
755 W. Front St,, Ste. 200

Boise, ID 837{)2

[Attomeys for Plaintifi]

Robert B. White

GIVENS PURSLEY LLP

601 W. Bannock Street

P.O. Box 2720

Boise, ID 83?01-2720

[Attomcys for Dei`cndant John Gustin]

AFFIDAVIT OF TAM]E COOPER - 4

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ii

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EXHIBIT 10

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.J'. DAV!D NA"/AF\`HO, Cl£~:rl-;
ny J. Hn.~.io,fu.i.

D!"F’|IT»
Brad P. Miller, ISB No. 3630
HAWLEY TROXELL ENNIS & HAWLEY LLP
877 Main Stneet, Suite 1000
P.O. Box 1617
Bo:`se, lD 83701-161'?
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Facsimile: 208.954.5240
Email: bmiller@hawleytroxell.com

 

Attorneys for Defendam MORETON lNSURANCE
OF IDAHO, INC.. dfbr*a MORETON &
COMPANY

lN THE DISTRICI` COURT OF THE FOURTH JUDICIAL DISTRICT

OF THE STA'I'E OF lDAHO, IN AND FOR THE COUNTY OF ADA

WESTERN BENEFIT SOL UTIONS, LLC. an

ldaho limited liability company,, Case No. CV OC 1008362

Plaintiff. AFFIDAVIT OF CODY GUSTIN

JOHN GUSTIN, an individual. and
MORETON lNSURANCE OF lDAI-IO. YNC..
an ldaho corporalion, dfh!a MORETON &
COMPANY.

Defendants.

)
)
)
)
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vs. )
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)
)

 

l, Cody Gustin, being first duly sworn under oath, deposes and says:

l. I am a producer at Moreton lnsurance of Idaho, lnc. (“Moreton”) and as such,

 

make this Aft`ldavic upon my own personal knowledge
2. l recently became the agent of record for Fast Entcrprises, LLC (“Fast") for lines

of business formerly handled by Wesrern Benef`n Solutions, LLC (“WBS“). I have known Be!h

AFFIDAVIT OF CODY GUSTIN ~ l

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Schattin for years and have been friends with Beth’s husband, Bob Schattin, since 1998. Beth
Schattin is the decision maker for insurance at Fast. l have sold multiple lines of insurance
primarin long-term disability insurance to Fast for at least seven years.

3. Beth Schattin came to our office for a presentation we were making to multiple
clients concerning healthcare reform. She had been invited because she was the client
representative for property and casualty liability insurance that we sold. At the meeting. l told
Beth Schattin “hello." At that time she asked me what was going on with John, my brother. She
informed me that their associate general meeting ("AGM“), where various vendors make benefit
presentations was rapidly approaching and she was becoming concealed that she would not have
anyone there to make the employee benefits presentation She asked me if I would travel to
Florida and make the AGM presentation I told her to give it some more time, but that if she was
in a lurch. I would do the presentation Ispoke with Beth Schattin on or about April 29, 2010.
She informed me she had no one at WBS to make her AGM presentation I told Beth in order to
do the AGM prcsentation, I would need to be the agent of record. Beth Schattin appointed me
the Agent of Record for Fast. l traveled to Fast‘s meeting tn Florida and made the AGM
presentation on May 10, 2010.

4. Fast. transferring their account to me and making me the agent of record was done
because of their urgent need for a representative to make the AGM presentation My brother
John Gustin did not furnish any proprietary information about Fast or WBS to me, nor did he

directly or indirectiy assist me in any manner in causing Fast’s shift of its business from WBS to

 

Moreton

AFFIDAVIT OF CODY GUSTlN ~ 2

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5. I recently became agent of record for Tate’s Rents. l have been acquainted with
and friends with leff McGinnley at 'I`ates Rents for years. I-Ie is a friend. He has a son who is
the same age as my son. He will be an assistance coach on the little league football team that I
coach. leff McGinnley spoke with me several times about many different topics including his
informing me that he had left multiple messages with WBS. no one was telling him what was
going on and that he could not get anyone to return his phone calls, I-le asked me if l could be
his Agent of Record, l asked him to be patient for a couple of weeks He called me a couple of
weeks thereafter and asked me yet again to become their Agent of Record. l sent him the
paperwork on Friday, April 30. 2010, to effect such a change l received the paperwork back
from Jei`f McGinley on Monday, May 3. 2010.

6, l did not receive any proprietary or confidential information from .lohn Gustin
concerning Tates Rents or WBS in connection with the transfer of Tates Rents‘ lines of business
John Gustin played no role in effecting the switch of Tates Rents from WBS to Moreton. To the

best of my knowledge john has not solicited. directly or indirectly, Ttttes to switch its business

 

from WBS to Moreton.

?. I recently became the agent of record for Syringa Property Management. l have
been acquainted with Bill and Cheryl Kettler for a number of years. Cheryl Kettler is the l-IR
contact and the individual responsible for selecting Syringa Property Management insurance
Their health insurance was set to renew on May l. 2010. On Thursday, April 29, 2010, Cheryl
sent an e-mail to Chris Christianson at Moreton. Chtistianson is the producer within Moreton
who has handled and is handling several lines of business for Syringa Property Management. In

her e-mail, Cheryl indicated that she had received no help from W`BS. She indicated that she had

AFFIDAVIT OF CODY GUSTTN - 3

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e»rnailed and called and no one would respond to her inquiries Chris Christianson forwarded the
e-rnail to me and said that he needed help to get a renewal done. I met with Cheryl Kettler on
'I`hursday, April 29. 2010. I asked her what l could do to assist her. She asked rne to renew their
insurance l told her in order to renew their insurance for them, l would either need to be an
agent of record or obtain an authorization letter to work on their account. Approximately an
hour later l received a letter indicating that they had made me their broker of record.

3. John Gustin did not directly or indirectly solicit Syringa Property Management to
switch its account to Moreton. He did not furnish WBS any proprietary or confidential
information to rne to facilitate the transfer of the account. John Gustin played no role in the
transfer of the account. Rather. the account was transferred because no one at W`BS would
respond to Syringa Property Management‘s inquiries or provide them with assistance in
renewing their insurance

Further your affiant sayeth naught.

 

 

AFFIDAVIT OF CODY GUSTIN - 4

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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 69 of 78

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S'I`ATE OF FLORIDA )
) ss.

County of&¢-¢- rid )

sUBscRrBEr) AND swoRN before me this May of May. 2010.

 

 

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commission expires define 6 . ..=.20/,/ _.

AFFLDAVIT OF CODY GUS'I`IN - 5

 

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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 70 of 78

" ` CER'I`lFICATE OF SERVICE` " `

l IIEREBY CERTIFY that on this 104 day of May, 2010, I caused to be served a true
copy of` the foregoing AFFIDAVIT OF CODY GUST{N by the method indicated below, and

addressed to each of the following:

Michael E. Ba|dner

Jason G. Dykstra

MEULEMAN MOLLERUP LLP
755 W, Front St., Ste. 200

Boise, lD 33702

[Attomeys for Plaintift]

Robert B. White

GIVENS PURSLEY LLP

601 W. Bannoclt Street

P.O. Box 2720

Boise, ID 83?01-2?20

[Attorneys for Defendant .lohn Gustin]

AFFIDAVIT OF CODY GUSTIN - 6

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Hand Delivered
__ Overnight Mail
H___ E-mail: rbw@givenspursley.com
Telecopy: (208) 388»1300

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EXHIBIT ll

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Robert B. White (lSB #4438)

Justin A. Steiner (lSB #8015)
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Telephone: (208) 388~1200
Facsimile: {208) 383-1300

Att‘omeys for Defendant John Gustin

|N THE D|STR[CT COURT OF THE FOURTH JUDiC|AL D|STR|CT OF THE

STATE OF |DAHO, |N AND FOR THE COUNTY OF ADA

 

WESTERN BENEFIT SOLUT|ONS, Case NO. CV OC 1008362

LLC, an ldaho limited liability company;
' NOTlCE OF APPEARANCE

P|airttil'f,
Fi|ing Fee: $58.00

VS.

JOHN GUST[N, art individual, and
MORETON INSURANCE OF lDAI-IO,
lNC.l an idaho corporation dlb)‘a
MORETON 8. COMPANY;

Defendants.

 

PLEASE TAKE NOTICE that Robert B. White, of the firm, Givens Pursley
LLP, does hereby enter an appearance on behalf of John Gustin, a defendant in this
action. Al| future pleadings, correspondence andfor other documents relating to this

matter should be forwarded to Robert B. White as attorney for said defendant at the

address referenced above

NOTlCE OF APPEARANCE - 1
865699

Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 73 of 78

DATED this 10"‘ day or May, 2010.

NOT|CE OF APPEARANCE » 2
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G|VENS PLJRSLEY LLP

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Robert B. \Nhite
At!orneys for Defendant .}ohn Gustin

Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 74 of 78

ERT|FlCATE OF SERV}CE

| HEREBY CERT¥FY that on the 10"‘ day of Nlay. 2010. | caused to be served a

true copy of the foregoing Not."ce of Appearance by the method indicated below and

addressed to each of the following

Michae| E_ Ba|dner

.}ason G. Dykstra
MEULEMAN MOLLERUP LLP
755 W. Front Street, Suite 200
Boise, lD 83702

Attorneys for Plafntiff

BRAo Mn_LER

HAWLEY TRoxELL E.Nuis & HAWLEY LLP
877 Main St., Ste. 1000

Boise, |D 83702

Attomeys for Morton insurance of idaho

NOT[CE OF APPEARANCE ~ 3
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U.S. Mail, Postage Prepaid
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Robert B. White

Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 75 of 78

EXHIBIT 12

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Aitorneys for Defendanr John Gustin

|N THE DlSTR|CT COURT OF THE FOURTH JUDIC|AL D|STR|CT OF THE

STATE OF EDAHO, lN AND FOR THE COUNTY OF ADA

 

WESTERN BENEF[T SOLUTIONS, Case No. CV OC 1008362
LLC, an ldaho limited liability company; `
DEFENDANT JOHN GUST]N’S NOT|CE

Plaintiff, :` OF JOiNDER lN MORETON
|NSURANCE OF IDAHO, lNC.’S
vs_ § OPPOS|T|ON TO PLA|NTIFF’S
APPL|CAT|ON FOR PREL.|MINARY
JOHN GUST|N, an individua|, and 5 |NJUNCTION

MORETON |NSURANCE OF |DAHO,
INC., an ldaho corporation dfbia
MORETON & COMPANY;

Defendants.

PLEASE TAKE NOT|CE that Defendant John Gustin joins in Defendant Moreton
lnsurance of ldahol |nc.’s Opposition to Plaintiff's App|ication for Prelirninary injunctionl
filed May 10, 2010.

This joinder is supported by Moreton lnsurance of idaho, lnc,’s filings with the

Court and the Affidavit of John Gustin, filed contemporaneously herewith.

!H

DEFENDANT JOHN GUSTIN’S NOT|CE OF JO¥NDER IN MORETON lNSURANCE OF lDAHO,
INC.’S MOTION lN OPPOS|T|ON TO PLA|NT|FF'S AFPL|CAT!ON FOR PREL]MINARY

lNJUNCTION ~ 1
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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 77 of 78

DATED this 10"‘ day or May, 2010.

GlVENS PURSLEY LLP

i/::MM

Robert B. White
Attorneys for Defendant John Gustin

DEFENDANT JOHN GUSTIN’S NOT|CE OF JO|NDER lN MORETON lNSURANCE OF lDAHO,

lNC.’S MOT!ON lN OPPOSIT!ON TO PLA|NT|FF’S APPLICAT!ON FOR PRELIM|NARY
lNJUNCTION - 2
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Case 1:11-cv-00099-E.]L-CWD Document 1-2 Filed 03/11/11 Page 78 of 78

CERTlFiCAT§QF SERVICE

i HEREBY CERTIFY that on the 10th clay of May, 2010, l caused to be served

a true COpy Of the foregoing DEFENDANT JOHN GUST.'N’S NOT!CE OF JO!NDER l'N

MORETON !NSURANCE OF IDAHO, INC.’S OPPOSITTON TO PLA!NTIFF'S APPLICA T,‘ON

FOR PRELerNARY rNJUNCTrON by the method indicated below and addressed to

each of the following:

Michael E. Baldner

Jason G. Dy|<stra
MEULEMAN MOLLERUP LLP
755 W. Fronl Street, Suite 200
Boise, lD 83702

Ai‘iorneys for Plainriff

BRAD MlL:_ER

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flow

Robert B. White

DEFEN DANT JOHN GUST|N'S NOT|CE OF JOINDER lN MORETON INSURANCE OF lDAHO,
|NC.'S MOT|ON IN OPPOSlTlON TO PLA!NTIFF’S APPL|CAT!ON FOR PREL|M|NARY

lNJUNCT|ON - 3
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